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                        UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF CALIFORNIA
                                        Criminal Minutes


 Date: January 24, 2022                                               Judge: Hon. James Donato

 Court Reporter: Marla Know
 Time: 5 Minutes
 Case No.       3:21-cr-00155-JD-1
 Case Name      USA v. Carlos E. Kepke

 Attorney(s) for Government:      Christopher Magnani
 Attorney(s) for Defendant(s):    Grant Fondo

 Deputy Clerk: Lisa Clark

                                         PROCEEDINGS

Trial Setting Conference -- Held via Zoom Teleconference

                                     NOTES AND ORDERS

The Court directs the parties to file by February 14, 2022, a joint statement selecting a trial date
in the last quarter of 2022, or explaining with specificity why a later trial date might be
warranted. A status conference is set for March 21, 2022, at 10:30 a.m. in Courtroom 11. At the
parties’ joint request, time between January 24, 2022, through March 21, 2022, is excluded under
the Speedy Trial Act for effective preparation of counsel.




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